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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

The Mountain Corporation
                                                          Plaintiff,
v.                                                                     Case No.:
                                                                       1:22−cv−02705
                                                                       Honorable Matthew
                                                                       F. Kennelly
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto
                                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 22, 2022:


        MINUTE entry before the Honorable Matthew F. Kennelly: Case was called for a
telephonic status hearing. Plaintiff's counsel did not appear for the hearing. The motion for
preliminary injunction [34] is granted as to all defendants except for defendant Drindf.
Motion for preliminary injunction is denied as to defendant Drindf. The plaintiff is
directed to file a status report by 8/11/2022. A telephonic status hearing is set for
8/18/2022 at 8:55 a.m. The following call−in number will be used: 888−684−8852; access
code 746−1053.Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice. (mma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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